     Case 2:14-md-02591-JWL-JPO Document 4119 Filed 03/05/19 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



IN RE SYNGENTA AG MIR162 CORN
LITIGATION                                      Master File No. 2:14-MD-02591-JWL-JPO

THIS DOCUMENT RELATES                  TO       MDL No. 2591
ALL CASES EXCEPT:

  Louis Dreyfus Company Grains
  Merchandising LLC v. Syngenta AG, et
  al., No. 16-2788-JWL-JPO

  Trans Coastal Supply Company, Inc. v.
  Syngenta AG, et al., No. 2:14-cv-02637-
  JWL-JPO

  The Delong Co., Inc. v. Syngenta AG et
  al., No. 2:17-cv-02614-JWL-JPO

  Agribase International Inc. v. Syngenta
  AG, et al., No. 2:15-cv-02279-JWL-JPO


   UNOPPOSED TENTH MOTION FOR DISBURSEMENT OF FUNDS FROM THE
    QUALIFIED SETTLEMENT FUND TO PAY NOTICE-RELATED EXPENSES

       On April 10, 2018, the Court granted preliminary approval of the settlement in this

matter, and appointed BrownGreer PLC as the Notice Administrator and Claims Administrator.

See ECF No. 3532 at ¶ 7. As part of that Preliminary Approval Order, the Court approved the

Notice Plan, the Long Form Notice, Publication Notice and directed the Notice Administrator to

comply with all other aspects of the Notice Plan. Id. at ¶¶ 9-11. The Court also appointed

Daniel E. Gustafson, Christopher A. Seeger and Patrick J. Stueve as National Settlement

Counsel. Id. at ¶ 5.
    Case 2:14-md-02591-JWL-JPO Document 4119 Filed 03/05/19 Page 2 of 5




       On April 10, 2018, the Court granted the Joint Motion to Establish a Qualified Settlement

Fund. ECF No. 3535. The Court appointed BrownGreer PLLC as the Administrator of the

Qualified Settlement Fund (“QSF”) and Citibank, N.A., as the Escrow Agent. Id. at ¶¶ 2-3.

       Pursuant to the Agrisure Viptera/Duracade Class Settlement Agreement (“Settlement

Agreement”), Syngenta has deposited $400 million into the Qualified Settlement Fund, “a

portion of which shall be used to pay the fees and expenses of the Claims Administrator and the

Notice Administrator, as well as the Class Notice as approved by the Court.”          Settlement

Agreement, ECF No. 3507-2 at ¶ 3.7.1.2. Pursuant to the Escrow Agreement, the Escrow Agent

shall disburse funds from the Escrow Account only upon the receipt of joint written instructions

from authorized representatives from Syngenta and Settlement Class Counsel, which attaches

any relevant order of the Court related to such requested disbursement. ECF No. 3530-1 at 2.

       The Notice and Claims Administrator, as part of their duties to comply with the Court-

approved Notice Plan, has incurred expenses in the amount of $974,236.09 relating to work

performing those duties.    A detailed invoice is attached hereto as Exhibit A. Counsel for

Plaintiffs have provided a copy of the motion and the exhibit to Syngenta and Syngenta is

unopposed to this motion.

       Based on the language in the Settlement Agreement and the Escrow Agreement,

Settlement Class Counsel move the Court for approval to disburse funds from the Qualified

Settlement Fund to pay the invoice attached as Exhibit A, which totals $974,236.09.




                                           2
    Case 2:14-md-02591-JWL-JPO Document 4119 Filed 03/05/19 Page 3 of 5




Dated: March 5, 2019

Respectfully Submitted,

/s/ Patrick J. Stueve
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                                        3
    Case 2:14-md-02591-JWL-JPO Document 4119 Filed 03/05/19 Page 4 of 5




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                                  4
     Case 2:14-md-02591-JWL-JPO Document 4119 Filed 03/05/19 Page 5 of 5




                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on March 5, 2019, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sent notification of such

filing to all counsel of record.


                                           /s/ Patrick J. Stueve
                                           Plaintiffs’ Co-Lead, Liaison, and Class Counsel for
                                           Plaintiffs




                                           5
